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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

              Plaintiff,

  v.                                            Criminal Action No. 2:00CR7-12
                                                                       (STAMP)
  KEVIN A. RIDEOUT,

              Defendant.


                        MEMORANDUM OPINION AND ORDER
                    DENYING DEFENDANT KEVIN A. RIDEOUT’S
                  MOTION FOR GRAND JURY RECORDS/DOCUMENTS

                             I.     Procedural History

        On March 30, 2006, defendant, Kevin A. Rideout (“Rideout”),

  filed a motion for records/documents relating to the above-styled

  criminal action pursuant to 28 U.S.C. § 753(b) and Rule 6(f) of the

  Federal    Rules   of    Criminal    Procedure.       Specifically,     Rideout

  requests a certified copy of the “record of the proceedings of the

  return of the indictment,” from the grand jury proceedings on

  August 8, 2000.     On April 25, 2006, the United States responded to

  the   defendant’s       motion.      The    United   States   objects   to   the

  defendant’s request because the material Rideout requests is secret

  under Rule 6(e)(6) of the Federal Rules of Criminal Procedure.

                               II.    Applicable Law

        Granting a request for grand jury transcripts is within the

  sound discretion of the Court.             See United States v. Walczak, 783

  F.2d 852, 857 (9th Cir. 1986).               Rule 6(e)(3)(E)(ii) sets forth

  instances when a Court “may authorize disclosure” of grand jury

  information.       The court should permit disclosure of grand jury
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  transcripts to a defendant “when the party seeking them has

  demonstrated that a ‘particularized need exists which outweighs the

  policy of secrecy.”’       Id. (quoting Pittsburgh Plate Glass Co. v.

  United States, 360 U.S. 395 (1959).              As discussed in Douglas Oil

  Co. of Cal. v. Petrol Stops N.W., 441 U.S. 211, the “[p]arties

  seeking grand jury transcripts under Rule 6(e) must show that the

  material they seek is needed to avoid the possible injustice in

  another judicial proceeding, that the need for disclosure is

  greater than the need for continued secrecy, and that their request

  is structured to cover only material so needed.”

                               III.    Discussion

        This Court finds the United States’s argument persuasive.

  Pursuant to Rule 6(c) of the Federal Rules of Criminal Procedure,

  “records, orders, and subpoenas relating to grand jury proceedings

  must be kept under seal to the extent and as long as necessary to

  prevent the unauthorized disclosure of a matter occurring before

  the grand jury.”     Moreover, neither Rule 6(f) of the Federal Rules

  of   Criminal    Procedure   nor    28   U.S.C.     §     753(b)   discusses    the

  disclosure of grand jury transcripts.                Accordingly, this Court

  finds that Rule 6(e)(6) of the Federal Rules of Criminal Procedure

  applies to this criminal action because Rideout is seeking a record

  from a grand jury proceeding.

        In   his   motion   requesting         a   record    of    the   grand   jury

  proceedings, Rideout has not provided this Court with a reason why

  he seeks disclosure of the grand jury record.                   Thus, Rideout has



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  not demonstrated that his need for the grand jury transcript

  outweighs the policy of secrecy under Rule 6(e).

        Accordingly, Rideout is not permitted to obtain the documents

  requested pursuant to Federal Rule of Criminal Procedure 6(e)(6).

                                IV.   Conclusion

        Thus, it is ORDERED that defendant Kevin A. Rideout’s motion

  to obtain records of the grand jury proceeding must be DENIED.

        IT IS SO ORDERED.

        The Clerk is directed to transmit a copy of this order to the

  defendant and to counsel of record herein.

        DATED:      May 10, 2006



                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




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